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                                                                         United States District Court
                                                                           Southern District of Texas

                                                                              ENTERED
                                                                            October 29, 2021
                  IN THE UNITED STATES DISTRICT COURT
                  FOR THE SOUTHERN DISTRICT OF TEXAS                       Nathan Ochsner, Clerk

                          BROWNSVILLE DIVISION

RUBEN GUTIERREZ, et al,                   §
                                          §
         Plaintiffs,                      §
VS.                                       §   CIVIL NO. 1:19-CV-185
                                          §
LUIS V SAENZ, et al,                      §
                                          §
         Defendants.                      §

                                      ORDER

       The Court is in receipt of Plaintiff Ruben Gutierrez’s (“Gutierrez”) September
16, 2021 Motion to Alter or Amend Judgment Pursuant to Federal Rule of Civil
Procedure 59(e), Dkt. No. 179; Defendants Bryan Collier (“Collier”), Bobby Lumpkin
(“Lumpkin”) and Dennis Crowley’s (“Crowley”) (collectively “Defendants”) Response,
Dkt. No. 180; and Plaintiff’s Reply, Dkt. No. 181. For the following reasons, the
Court GRANTS Gutierrez’s motion.
       Federal Rule of Civil Procedure 59(e) authorizes a litigant to “call into
question the correctness of a judgment.” In re Rodriguez, 695 F.3d 360, 371 (5th Cir.
2012) (quoting In re Transtexas Gas Corp., 303 F.3d 571, 581 (5th Cir. 2002)). Relief
under Rule 59(e) is appropriate “(1) where there has been an intervening change in
the controlling law; (2) where the movant presents newly discovered evidence that
was previously unavailable; or (3) to correct a manifest error of law or fact.”
Demahy v. Schwarz Pharma, Inc., 702 F.3d 177, 182 (5th Cir. 2012). A Rule 59(e)
motion “cannot be used to raise arguments which could, and should, have been
made before the judgment issued.” Morris v. PLIVA, Inc., 713 F.3d 774, 776 (5th
Cir. 2013) (quoting Schiller v. Physicians Res. Grp. Inc., 342 F.3d 563, 567 (5th Cir.
2003). “[S]uch a motion is not the proper vehicle for rehashing evidence, legal
theories, or arguments that could have been offered or raised before the entry of
judgment.” Templet v. HydroChem Inc., 367 F.3d 473, 479 (5th Cir. 2004).




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       The granting of this motion is based on the subsequent review of the
following chronology: (1) the July 9, 2012 Texas Department of Criminal Justice
(“TDCJ”) Execution Procedure (“2012 Execution Procedure”) which stated that the
“Huntsville Unit Chaplain or a designated approved TDCJ Chaplain shall
accompany the offender while in the Execution Chamber.” Dkt. No. 109-6 at 63; (2)
the April 21, 2021 TDCJ Execution Procedure (“2021 Execution Procedure”) which
states that “[i]f requested by the inmate and previously approved by the TDCJ, a
TDCJ Chaplain or the inmate’s approved spiritual advisor will be escorted into the
execution chamber by an agency representative to observe the inmate’s execution.”
Dkt. No. 153-3 at 10; (3) the May 20, 2021 email from TDCJ counsel stating that the
TDCJ would not permit the spiritual advisor to accommodate Gutierrez’s spiritual
needs as requested in the previous email from Gutierrez’s counsel of the same date,
Dkt. No. 153-4; (4) Chaplain Wayne Moss’ (“Moss”) undisputed deposition testimony
that contact was allowed in the execution chamber under the 2012 Execution
Procedure, 6/24/19 Moss Tr. at 19:4-8 in Murphy v. Collier, No. 4:19-cv-1106 (S.D.
Tex. June 24, 2019), Dkt. No. 110-14; and (5) the recent filings in the United States
Supreme Court addressing the TDCJ custom and practice of allowing touching and
praying in the execution chamber. See Brief of Former Prison Officials as Amici
Curiae in Support of Petitioner, at 2-11, Ramirez v. Collier, No. 21-5592, 2021 WL
4667642 (U.S.); Brief of Spiritual Advisors and Former Corrections Officials as
Amici Curiae Supporting Petitioner, at 13-19, Ramirez v. Collier, No. 21-5592, 2021
WL 4670366 (U.S.).
       This Court erred in concluding that Gutierrez was dilatory. While neither the
2012 Execution Procedure nor the 2021 Execution Procedure place limitations on
the manner or means by which a spiritual advisor may accommodate an inmate’s
spiritual needs in the execution chamber, it is evident from Moss’ deposition
testimony that under the 2012 Execution Procedure touching the inmate was
allowed. This is contrary to the representation made by Defendants in their
response that “physical contact and audible prayer were never permitted under
current or former TDCJ Execution Procedures,” Dkt. No. 180 at 1-2. Gutierrez and


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his counsel had a reasonable expectation that under the 2021 Execution Procedure
the spiritual advisor would be allowed to meet his spiritual needs in the execution
chamber because touching had been allowed under the 2012 Execution Procedure.
       Therefore, premises considered, the Court VACATES the Order of Dismissal,
Dkt. No. 172, and Final Judgment, Dkt. No. 173; GRANTS Gutierrez’s September
16, 2021 Motion to Alter or Amend Judgment, Dkt. No. 179; SETS ASIDE its
conclusion that Gutierrez was dilatory and AMENDS its August 19, 2021 Order
accordingly, Dkt. No. 172; and GRANTS Gutierrez’s May 27, 2021 Motion for Leave
to Supplement or Amend the Amended Complaint, Dkt. No. 153.


       SIGNED this 29th day of October 2021.


                                         ___________________________________
                                         Hilda Tagle
                                         Senior United States District Judge




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